      Case 2:19-cv-10635-ILRL-JVM Document 97-12 Filed 10/09/20 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA


 BYRON TAYLOR, TERRAINE R.
 DENNIS, KENNETH HUNTER,
 KENDALL MATTHEWS, and LONNIE                    CASE NO. 2:19-cv-10635-ILRL-JVW
 TREAUDO, on Behalf of Himself and on
 Behalf of All Others Similarly Situated,        JUDGE IVAN L.R. LEMELLE

          Plaintiffs,                            MAG. JANIS VAN MEERVEED

 V.

 HD AND ASSOCIATES, LLC, and JOHN
 DAVILLIER

          Defendants.


                                           ORDER

          Considering Plaintiffs’ Motion for Partial Summary Judgment Regarding Employment

Status;

          IT IS ORDERED that Plaintiffs’ Motion for Partial Summary Judgment Regarding

Employment Status is GRANTED and that Plaintiffs were employees of HD and Associates, LLC.

as a matter of law under the Fair Labor Standards Act.

          Signed this _____ day of ____________________, 2020, in New Orleans, Louisiana.




                                            __________________________________________
                                            SENIOR UNITED STATES DISTRICT JUDGE
